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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 RICHARD W. DEOTTE et al.,                        §
                                                  §
                                                  §
       Plaintiffs,                                §
                                                  §
 v.                                               §   Civil Action No. 4:18-cv-00825-O
                                                  §
 ALEX M. AZAR II et al.,                          §
                                                  §
       Defendants.                                §

                                              ORDER
         Before the Court are Plaintiffs’ Motion for Class Certification, ECF No. 20, filed February

5, 2019; Defendants’ Response and Objection, ECF No. 30, filed March 8, 2019; and Plaintiffs’

Reply, ECF No. 31, filed March 15, 2019. Having reviewed the motion, briefing, and applicable

law, the Court finds the Motion for Class Certification, ECF No. 20, should be and is hereby

GRANTED.

I.       BACKGROUND

         In 2010, Congress mandated through the Patient Protection and Affordable Care Act

(ACA) that “[a] group health plan and a health insurance issuer offering group or individual health

insurance coverage shall . . . provide coverage for and shall not impose any cost sharing

requirements for” such “preventive care and screenings” for women “as provided for in

comprehensive guidelines supported by the Health Resources and Services Administration

[(HRSA)] . . ..” 42 U.S.C. § 300gg-13(a)(4). Congress did not make a policy choice about what

“preventive care and screenings” must be covered but instead left that determination to HRSA, an

agency of the Department of Health and Human Services (HHS). Id.




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       In August 2011, HRSA made the policy choice Congress left open by issuing guidelines

requiring coverage of all FDA-approved contraceptive methods—the “contraceptive mandate.”

See 77 Fed. Reg. 8,725, 8,725 (Feb. 15, 2012) (“These preventive health services include, with

respect to women, preventive care and screening provided for in the comprehensive guidelines

supported by the [HRSA] that were issued on August 1, 2011 . . . As relevant here, the HRSA

Guidelines require coverage, without cost sharing, for ‘[a]ll Food and Drug Administration

[(FDA)] approved contraceptive methods . . ..’”). On August 3, 2011, the Departments of the

Treasury, Labor, and HHS issued amended interim final rules to “take[] into account the effect on

the religious beliefs of certain religious employers if coverage of contraceptive services were

required in the group health plans in which employees in certain religious positions participate.”

76 Fed. Reg. 46,621, 46,623 (Aug. 3, 2011). Accordingly, the interim final rules created

exemptions from the contraceptive mandate for non-profit religious employers, including

“churches, their integrated auxiliaries, and conventions or associations of churches, as well as . . .

the exclusively religious activities of any religious order.” Id.

       According to Plaintiffs, “To use this accommodation, an entity was required to certify that

it is a religious non-profit that objects to covering some or all methods of contraception on religious

grounds,” at which point “the issuer of the group health insurance used by the religious non-profit

must exclude contraceptive coverage from that employer’s plan, but the issuer must pay for any

contraception used by the non-profit’s employees.” Am. Compl. 4, ECF No. 19. “The issuer may

not shift any of those costs on to the religious non-profit, its insurance plan, or its employee

beneficiaries.” Id. (citing 78 Fed. Reg. 39870, 39896–97 (July 2, 2013)). Plaintiffs also allege, “If

a religious non-profit is self-insured, then its third-party administrator must pay for the employees’




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contraception, without shifting any costs on to the religious non-profit, its insurance plan, or its

employee beneficiaries.” Id. (citing 78 Fed. Reg. 39870, 39893 (July 2, 2013)).

        The Government represents that, despite these accommodations, “[o]ther religious

employers, as well as employers with nonreligious moral objections, remained subject to the

contraceptive mandate . . . and were left either to violate their sincerely-held religious beliefs or to

be liable for significant fines.” Defs.’ Resp. Mot. Certification 2, ECF No. 30. In the Government’s

words, “Years of litigation in dozens of cases followed.” Id. at 1.

        “In an effort to address serious religious and moral objections and finally bring the

litigation to a close,” the Government explains, the Departments of “HHS, Labor, and the Treasury

. . . issued rules that preserve the [contraceptive] mandate, but exempt employers with religious or

moral objections.” Id. at 1–2 (citing Religious Exemptions and Accommodations for Coverage of

Certain Preventive Services Under the Affordable Care Act, 83 Fed. Reg. 57,536 (Nov. 15, 2018);

Moral Exemptions and Accommodations for Coverage of Certain Preventive Services Under the

Affordable Care Act, 83 Fed. Reg. 57,592 (Nov. 15, 2018)). The Government further explains that

“[t]he rules also allow individuals with religious or moral objections to contraceptive coverage to

obtain a health plan that conforms to their beliefs if an issuer is willing to provide it.” Id. at 2.

        Notably, the Government Departments involved in promulgating the rules expressly noted

these exceptions were compelled by the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb–

1 (RFRA). See, e.g., 83 Fed. Reg. 57,536, 57,544 (Nov. 15, 2018) (“[W]ith respect to religious

employers, the Departments conclude that, without finalizing the expanded exemptions, and

therefore requiring certain religiously objecting entities to choose between the [Contraceptive]

Mandate, the accommodation, or penalties for noncompliance—or requiring objecting individuals




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to choose between purchasing insurance with coverage to which they object or going without

insurance—the Departments would violate their rights under RFRA.”).

       On January 14, 2019, however, the United States District Court for the Eastern District of

Pennsylvania issued a nationwide injunction prohibiting the Government from enforcing its rules

designed to protect religious liberties. See Pennsylvania v. Trump, No. 2:17-cv-04540-WB (E.D.

Pa. Jan. 14, 2019) (order granting nationwide preliminary injunction). Plaintiffs thereafter filed

this suit, alleging essentially what the Government’s promulgating Departments previously

published in the Federal Register. Compare Religious Exemptions and Accommodations for

Coverage of Certain Preventive Services Under the Affordable Care Act, 83 Fed. Reg. 57,536,

57,544 (Nov. 15, 2018) with Am. Compl. 1, ECF No. 19 (“This ‘Contraceptive Mandate’ violates

the Religious Freedom Restoration Act because it substantially burdens the religious exercise of

employers and individuals who object to contraception and abortifacients.).

       “Plaintiffs Richard and Yvette DeOtte and plaintiffs John and Alison Kelley are Christians

who believe that life begins at conception” and they “regard the use of abortifacient contraception

as morally equivalent to abortion.” Am. Compl. 7, ECF No. 19. “Mr. DeOtte and Mr. Kelley are

self-employed and responsible for purchasing their own health insurance for themselves and for

their families.” Id. “The DeOttes and the Kelleys have opted to forego health insurance rather than

pay for insurance that subsidizes abortifacient contraception.” Id. at 8. They allege they “would,

however, be willing to purchase health insurance if it were possible to buy insurance that excludes

contraceptive coverage.” Id.

       Plaintiff “Braidwood Management Inc. employs approximately 70 individuals, and its

employees work at one of . . . three business entities, each of which is owned or controlled by Dr.

Hotze.” Id. at 9. “Dr. Hotze is a Christian, and he operates his business according to Christian



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principles and teaching.” Id. “Dr. Hotze believes that life begins at conception, and that the use of

abortifacient contraception is tantamount to abortion. Dr. Hotze’s beliefs on this matter are rooted

in his Christian faith.” Id. Dr. Hotze also “objects to the Contraceptive Mandate’s requirement that

he provide non-abortifacient contraception to his employees at zero marginal cost because it

facilitates sexual activity outside of marriage.” Id.

       “Braidwood Management Inc. is self-insured and . . . is compelled to offer ACA-compliant

health insurance to its employees or face heavy financial penalties.” Id. Plaintiffs allege that,

“[u]nder the Contraceptive Mandate, Braidwood must choose between: (1) Providing

contraception to its employees; (2) Executing a self-certification form that leads to the provision

of contraception by others; or (3) Paying a tax penalty of $100 per employee per day under 26

U.S.C. § 4980D.” Id. at 10. “Dr. Hotze refuses to allow Braidwood to execute the self-certification

form that the Contraceptive Mandate offers to objecting employers” because he “regards the

submission of that form as an act that affirmatively assists and facilitates the provision of

abortifacient and non-abortifacient contraception.” Id. Dr. Hotze had “instructed Braidwood to

terminate contraceptive coverage in its self-insured health plan . . . after the religious exemptions

had been announced in the final rule of November 15, 2018,” but in the wake of the nationwide

injunction rolling those religious protections back “Braidwood is now facing substantial tax

penalties—$100 per employee per day.” Id.

       Plaintiffs plead two causes of action—RFRA and the Administrative Procedure Act, 5

U.S.C. § 702. See Am. Compl. 13, ECF No. 19. Plaintiffs seek to certify two separate classes, one

consisting of individuals who sincerely object to the mandate for religious reasons, and one

consisting of employers who hold similar objections. See Mot. Certification, ECF No. 20.




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II.    LEGAL STANDARD

       Plaintiffs move for class certification under Federal Rule of Civil Procedure 23. “To obtain

class certification, parties must satisfy Rule 23(a)’s four threshold requirements, as well as the

requirements of Rule 23(b)(1), (2), or (3).” Maldonado v. Ochsner Clinic Found., 493 F.3d 521,

523 (5th Cir. 2007). Rule 23(a)’s four threshold requirements are:

       (1)     the class is so numerous that joinder of all members is impracticable;
       (2)     there are questions of law or fact common to the class;
       (3)     the claims or defenses of the representative parties are typical of the claims
               or defenses of the class; and
       (4)     the representative parties will fairly and adequately protect the interests of
               the class.

FED. R. CIV. P. 23(a). The four threshold requirements are known as numerosity, commonality,

typicality, and adequacy. And here, Plaintiffs claim Rule 23(b)(2) provides the appropriate grounds

for certification. Rule 23(b)(2) applies where the four threshold requirements are met and “the

party opposing the class has acted or refused to act on grounds that apply generally to the class, so

that final injunctive relief or corresponding declaratory relief is appropriate respecting the class as

a whole.” FED. R. CIV. P. 23(b)(2).

       The parties seeking class certification “bear the burden of proof to establish that the

proposed class satisfies the requirements of Rule 23.” M.D. ex rel. Stukenberg v. Perry, 675 F.3d

832, 837 (5th Cir. 2012). “The decision to certify is within the broad discretion of the court, but

that discretion must be exercised within the framework of rule 23.” Castano v. Am. Tobacco Co.,

84 F.3d 734, 740 (5th Cir. 1996) (citing Gulf Oil Co. v. Bernard, 452 U.S. 89, 100 (1981)). This

Court must “look beyond the pleadings to ‘understand the claims, defenses, relevant facts, and

applicable substantive law in order to make a meaningful determination of the certification

issues.’” Stukenberg, 675 F.3d at 837 (quoting McManus v. Fleetwood Enters., Inc., 320 F.3d 545,

548 (5th Cir. 2003)).


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III.   APPLICATION

       A.      The Parties’ Arguments

       Plaintiffs move to certify two separate classes. Their proposed definition for the first class,

the “Employer Class,” is:

       Every current and future employer in the United States that objects, based on its
       sincerely held religious beliefs, to establishing, maintaining, providing, offering, or
       arranging for: (i) coverage or payments for some or all contraceptive services; or
       (ii) a plan, issuer, or third-party administrator that provides or arranges for such
       coverage or payments.

Br. Supp. Mot. Certification 1, ECF No. 20-1. Urging that the Employer Class meets Rule 23(a)’s

numerosity requirement, Plaintiffs point out the “defendants have noted that approximately 87 for-

profit employers have filed lawsuits challenging the Contraceptive Mandate, and approximately

122 nonprofit employers have challenged the accommodation process.” Id. at 3 (citing 83 Fed.

Reg. 57,536, 57,575 (Nov. 15, 2018)). Plaintiffs also cite the “5,158 Catholic elementary schools

and 1,194 Catholic secondary schools in the United States,” noting many of these entities are not

exempt as integrated auxiliaries of the Church. Id. at 2. Looking to this and other data, Plaintiffs

continue, “one can confidently estimate that the Braidwood class members number in the hundreds

or even thousands, but it is difficult to come up with a more precise calculation.” Id. at 2–3.

       As to commonality, Plaintiffs claim the following legal question is common to all members

of the Employer Class:

       Does the Contraceptive Mandate violate the Religious Freedom Restoration Act by
       compelling objecting employers to choose among the following three options: (1)
       Provide contraceptive coverage in their employees’ health insurance; (2) Fill out
       and submit a form that leads directly to the provision of objectionable contraception
       by their insurer or third-party administrator; or (3) Pay a heavy financial penalty[?]

Id. at 3. Plaintiffs allege this common legal question breaks into three common parts: (1) Does the

contraceptive mandate burden the religious freedom of employers in the Employer Class; (2) Is

there a compelling governmental interest behind enforcing the contraceptive mandate against

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employers in the Employer Class; and (3) Is the contraceptive mandate the least restrictive means

of serving that compelling governmental interest? Id. at 3–4.

       Plaintiffs next argue the Employer Class satisfies the typicality requirement because

“Braidwood contends that the Contraceptive Mandate violates the Religious Freedom Restoration

Act as applied to employers who object to contraceptive coverage for sincere religious reasons—

the precise claim that it seeks to litigate on behalf of the absent class members.” Id. at 4. And as to

adequacy, Plaintiffs claim “Braidwood will fairly and adequately represent the interests of its

fellow class members, and there are no conflicts of interest between Braidwood and the other

members of this class.” Id. at 5. Finally, Plaintiffs contend Rule 23(b)(2) provides the grounds for

certifying the Employer Class because Braidwood seeks “[a] single injunction that stops the

defendants from enforcing the Contraceptive Mandate against each of the class members.” Id. at

6; see also id. (“The Supreme Court has held that this requirement is satisfied ‘when a single

injunction or declaratory judgment would provide relief to each member of the class.’” (quoting

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011))).

       Plaintiffs’ proposed definition for the second class, the “Individual Class,” is:

       All current and future individuals in the United States who: (1) object to coverage
       or payments for some or all contraceptive services based on sincerely held religious
       beliefs; and (2) would be willing to purchase or obtain health insurance that
       excludes coverage or payments for some or all contraceptive services from a health
       insurance issuer, or from a plan sponsor of a group plan, who is willing to offer a
       separate benefit package option, or a separate policy, certificate, or contract of
       insurance that excludes coverage or payments for some or all contraceptive
       services.

Id. Plaintiffs argue “[t]he number of individuals who meet this description far exceeds the

numerosity threshold,” suggesting “one can confidently estimate that the ‘approximate number of

class members’ exceeds one million.” Id. at 7–8 (quoting Local Rule 23.2(b)(1)); see also id.at 8

(“[I]f one considers only the number of Catholic objectors, the class exceeds 5.6 million . . . But


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even if we cut the number in half to account for [those with public insurance], the class far exceeds

the numerosity threshold.”).

       Plaintiffs then assert the question of law common to all members of the Individual Class

is: “Does the Contraceptive Mandate violate the Religious Freedom Restoration Act by forcing

class members to choose between purchasing insurance that subsidizes other people’s

contraception, or foregoing health insurance entirely?” Id. at 8. This common legal question

allegedly breaks into three common parts: (1) Does the contraceptive mandate burden the religious

freedom of individuals in the Individual Class; (2) Is there a compelling governmental interest

behind enforcing the contraceptive mandate against members of the Individual Class; and (3) Is

the contraceptive mandate the least restrictive means of serving that compelling interest? Id.

       Plaintiffs next argue typicality is satisfied because the claim Plaintiff Richard DeOtte raises

“is the identical claim that he seeks to litigate on behalf of the absent class members” and because

“Mr. DeOtte’s interests are aligned with the interests of his fellow class members, as each of them

benefits from a ruling that allows them to acquire health insurance that excludes contraceptive

coverage.” Id. at 9. As to adequacy, Plaintiffs contend “Mr. DeOtte will fairly and adequately

represent the interests of his fellow class members, and there are no conflicts of interest between

Mr. DeOtte and other members of this class.” Id. at 10. And Plaintiffs finally argue the Individual

Class satisfies Rule 23(b)(2) because “Mr. DeOtte is requesting a single injunction that stops the

defendants from enforcing the Contraceptive Mandate in a manner that prevents the class members

from purchasing health insurance without contraceptive coverage.” Id.

       Defendants challenge Plaintiffs’ certification arguments on some, but not all, of the

available grounds. See, e.g., Defs.’ Resp. 4, ECF No. 30 (“As explained below, class certification

should be denied because Plaintiffs have not satisfied Rule 23’s test for ascertainability,



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commonality, typicality, or adequacy.”).1 Most of Defendants’ arguments center on the assertion

that “[t]he RFRA claims of the proposed class members . . . will require individualized assessments

that are not suitable for class certification.” Id. at 2.

         Defendants first argue Plaintiffs fail to meet the Fifth Circuit’s requirement that a class be

ascertainable. See id. at 5 (“An identifiable class exists if its members can be ascertained by

reference to objective criteria (ascertainability).” (quoting Conrad v. Gen. Motors Acceptance

Corp., 283 F.R.D. 326, 328 (N.D. Tex. 2012))). Defendants assert one reason the classes are

unascertainable is that “both definitions are premised on an individual or employer’s subjective”

religious beliefs. Id. Defendants also claim the classes are unascertainable because “neither

definition contains a sufficiently definite time period” and because “the definitions are phrased so

broadly that it will not be administratively feasible for the Court to determine class membership.”

Id. at 7. As a result, Defendants argue, the proposed definitions “would require individualized

mini-hearings simply to determine class membership, undermining any efficiency gained by the

use of a class action.” Id. at 9.

         Defendants next argue the classes lack both commonality and typicality. See id. at 9–15.

Here again, Defendants contend “Plaintiffs cannot show commonality, because claims brought

under RFRA must be assessed by the Court on a case-by-case basis and are not suitable for class

determination.” Id. at 10. Specifically, Defendants urge that Plaintiffs’ RFRA claims necessitate

“an individualized assessment of each individual’s or employer’s sincerely-held religious belief.”




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  Defendants do not separately brief the issue of adequacy, but they include a footnote suggesting “Rule 23(a)’s
‘adequacy-of-representation requirement tends to merge with the commonality and typicality criteria’” and argue that,
“[f]or the same reasons that Plaintiffs have not satisfied the commonality and typicality requirements, they have failed
to demonstrate adequacy of representation.” Defs.’ Resp. 15 n.4, ECF No. 30 (quoting Amchem Prod., Inc. v. Windsor,
521 U.S. 591, 626 n.20 (1997)). Therefore, through addressing Defendants’ commonality and typicality arguments
below, the Court simultaneously addresses Defendants’ incorporated adequacy arguments.

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Id. And such an assessment, Defendants insist, requires an examination of an employer’s or

individual’s “specific religious practice.” Id. (emphasis added).

       “For similar reasons,” Defendants continue, “Plaintiffs cannot demonstrate typicality.” Id.

at 11. Defendants say this is because “the proposed class members do not necessarily share the

same sincerely-held religious belief.” Id. at 12 (emphasis added). Defendants suggest that, “[a]t a

minimum, the Court would need to determine whether each proposed class member held the same

type of religious belief as to the provision of the same specific types of contraceptive services.”

Id. “As a result, the named plaintiffs’ claims cannot be said to have the ‘same essential

characteristics as those of the putative class.’” Id. (citation omitted). For support, Defendants point

out that “another court in this District determined that, as to a proposed class of employees alleging

that their employer had failed to accommodate their requests for unpaid days off to observe

religious holidays, commonality did not exist ‘because the merits of each class member’s claims

would necessarily require individual, fact-specific inquiries.’” Id. at 13 (quoting Robinson v. Gen.

Motors Co., No. 4:15-CV-158-Y, 2015 WL 13731154, at *2 n.1 (N.D. Tex. Oct. 21, 2015)).

       Plaintiffs first reply that the “‘ascertainability’ doctrine allows courts to deny certification

to vague or poorly defined classes,” Pls.’ Reply 2, ECF No. 31 (citing John v. National Security

Fire & Casualty Co., 501 F.3d 443, 445 (5th Cir. 2007), and argue “[t]here is nothing vague or

imprecise about the proposed class definitions” because they “describe[] a clear and specific

objection: Opposition to the compelled coverage of some or all contraceptive services, based on

religious belief.” id. (emphasis added). Plaintiffs thus contend that “[b]oth the beliefs—and the

actions that inevitably follow from those beliefs—are clearly set forth in the proposed class

definitions.” Id. (emphasis in original). They also suggest “the Fifth Circuit has certified classes

that require far more difficult and complex ‘individualized inquiries’ to determine membership,”



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including “the certification of ‘fail-safe’ classes . . . ‘defined in terms of the ultimate question of

liability.’” Id. at 2–3 (quoting In re Rodriguez, 695 F.3d 360, 369–70 (5th Cir. 2012)). Plaintiffs

argue the case law “make[s] clear that there is no problem in the Fifth Circuit with class definitions

that require difficult and complex ‘individualized inquiries’ to determine whether someone is a

member—so long as the class definition is precise and avoids . . . vague and indeterminate criteria.”

Id. at 4 (emphasis in original). Plaintiffs also insist “the Fifth Circuit . . . has recognized that the

ascertainability requirement is greatly relaxed in the (b)(2) context.” Id. (citing In re Monumental

Life Ins. Co., 365 F.3d 408, 413 n.6 (5th Cir. 2004)).

        Next, Plaintiffs reply that “[c]ertified classes defined by members’ subjective beliefs are

common in RFRA and RLUIPA litigation.” Id. at 5 (citing Gartrell v. Ashcroft, 191 F. Supp. 2d

23, 24, 40–41 (D.D.C. 2002)). And the cases from Indiana and Wisconsin that Defendants cite,

Plaintiffs argue, “were litigated in the Seventh Circuit, which flatly prohibits class definitions that

turn on an individual’s subjective state of mind.” Id. at 6. Plaintiffs contend “[n]o such prohibition

exists in the Fifth Circuit—and it does not exist in the other circuits where district courts have

certified RFRA or RLUIPA classes that are defined by reference to their members’ actual religious

beliefs.” Id. Plaintiffs also submit that “even if the defendants were correct to oppose certification

on this ground, the proper response is . . . to redefine the classes so that membership turns on one’s

outward conduct rather than internal thoughts.” Id. (citing Mullins v. Direct Digital, LLC, 795 F.3d

654, 660 (7th Cir. 2015)).

        Plaintiffs then contest Defendants’ “claim that the classes of religious objectors should be

limited to a ‘sufficiently definite time period,’” and argue “[t]he Fifth Circuit has repeatedly

approved classes” that include unnamed future members. Id. at 8 (collecting cases). And to the

extent Defendants argue the proposed classes would not be administratively feasible, Plaintiffs



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reply that “no such requirement exists in the Fifth Circuit.” Id. (citing William B. Rubenstein,

Newberg on Class Actions § 3:3 (5th ed. 2011)).

       Finally, Plaintiffs conclude by suggesting “[t]he defendants do not deny” Plaintiffs’ legal

claims are common to and typical of all class members but instead “insist that the need to determine

the sincerity of an individual’s religious beliefs defeats any possible showing of commonality or

typicality.” Id. at 9. Yet “[t]he classes,” Plaintiffs urge, “by definition include only those who hold

sincere religious objections to the Contraceptive Mandate.” Id. (emphasis in original).

       B.      The Classes Are Ascertainable

       The Court finds the proposed classes are sufficiently ascertainable. Defendants primarily

rely on Robinson, where the district court found there was “no way to ascertain the class under

Plaintiffs’ definition since the requested class include[d] any GM employee who might request

unpaid religious leave in the future.” Robinson, 2015 WL 13731154, at *2 (emphasis in original).

The Robinson court reasoned, “Although individual class members need not be ascertained prior

to certification, the class itself must be ascertainable.” Id. And because the proposed class

definition in Robinson “would require the Court to wade through thousands of leave requests and

evaluate each individual’s circumstance,” the court found the “class [was] not adequately defined

or ascertainable.” Id.

       The proposed class in Robinson is distinguishable for several reasons. First, the Robinson

plaintiffs proposed a class of individuals “who might request unpaid religious leave in the future.”

Id. (emphasis in original). Here, Plaintiffs propose class definitions that invite only a “current and

future employer in the United States that objects” to the Government’s allegedly offending conduct

and only those “individuals in the United States who: (1) object to coverage or payments for some

or all contraceptive services . . . and (2) would be willing to purchase or obtain” accommodating



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coverage. Pls.’ Mot. Certification 1, ECF No. 20 (emphasis added). In other words, rather than

calling for employers and individuals who might object to the contraceptive mandate and might be

willing to avail themselves of other options, Plaintiffs specifically call for only those employers

and individuals who do so object and would so avail themselves. This helps ensure the class

“members can be ascertained by reference to objective criteria.” Robinson, 2015 WL 13731154,

at *2 (quoting MANUAL FOR COMPLEX LITIGATION (Fourth) § 21.222 (2004)).

       Second, Robinson did not involve the kind of immediate, concrete, and common injury

alleged by Plaintiffs here. See, e.g., id. (“[D]etermining individual class members would require

the Court to wade through thousands of leave requests and evaluate each individual’s circumstance

(e.g., whether the request was based on religion, whether the employee requested unpaid leave,

whether volunteer replacements were available).”); id. at *2 n.1 (“For each putative class member,

the Court would be required to evaluate each member’s religion, that religion’s holy days, and the

days for which each individual requested leave.”). Indeed, the proposed Robinson class would

have captured employees who might not even be scheduled to work on holy days—i.e., it is not

clear every class member could attest they had been or would be forced to violate their sincerely

held religious beliefs. Here, in contrast, there is no dispute the contraceptive mandate currently

compels coverage of all FDA-approved contraceptives and that any employer in the Employer

Class and any individual in the Individual Class—whether opposed to all or only some

contraceptives—is therefore currently compelled to violate their beliefs.

       But Defendants argue certification is still inappropriate because religious beliefs are

inherently subjective. See, e.g., Defs.’ Resp. 6, ECF No. 30 (“Identifying potential class members

would thus require the Court to delve into each unidentified individual’s or employer’s state of

mind as to his or her or its personal religious beliefs or willingness to purchase certain coverage.



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That is a textbook example of an individualized inquiry that dooms any attempt to properly define

the class at the outset.”). It is true a person’s religious beliefs are deeply personal and subjective.

But from the Court’s perspective, the contours of those beliefs are purely objective. See, e.g.,

United States v. Lee, 455 U.S. 252, 257 (1982) (“It is not within ‘the judicial function and judicial

competence,’ . . . to determine whether appellee or the Government has the proper interpretation

of the Amish faith; ‘[c]ourts are not arbiters of scriptural interpretation.’” (quoting Thomas v.

Review Bd. of Indiana Employment Security Div., 450 U.S. 707, 716 (1981))). And as Plaintiffs

argue, “[b]oth the beliefs—and the actions that inevitably follow from those beliefs—are clearly

set forth in the proposed class definitions.” Pls.’ Reply 2, ECF No. 31 (emphasis in original). The

Court, therefore, need not—indeed, may not—“delve into each unidentified individual’s or

employer’s state of mind.” So long as those employers and individuals who opt into the proposed

classes contend that the contraceptive mandate is forbidden by their sincerely held religious

beliefs, the Court must accept those contentions. Lee, 455 U.S. at 257 (“We therefore accept

appellee’s contention that both payment and receipt of social security benefits is forbidden by the

Amish faith.”); see also Soc’y of Separationists, Inc. v. Herman, 939 F.2d 1207, 1212 (5th Cir.

1991), on reh’g, 959 F.2d 1283 (5th Cir. 1992) (“[T]he plaintiff’s sincere belief that an affirmation

has a religious nature is sufficient to implicate free exercise concerns.”).

       It may be true some employers and individuals could insincerely claim to hold the religious

belief that the use of abortifacient contraceptives facilitate the taking of human life and/or that

non-abortifacient contraceptives wrongly facilitate extramarital sexual activity. But whether the

contraceptive mandate violates a sincerely held religious belief is a merits question under the

RFRA analysis. And “district courts do not err by failing to ascertain at the Rule 23 stage whether

the class members include persons and entities who have suffered ‘no injury at all.’” In re



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Deepwater Horizon, 739 F.3d 790, 811 (5th Cir. 2014). “As the Supreme Court explained, a

‘contention’ regarding the class members’ injury is sufficient to satisfy Rule 23.” Id. Plaintiffs

contend the contraceptive mandate violates their sincerely held beliefs, and they have designed the

class definitions so any employer or individual who opts in will necessarily have contended the

same.

         In sum, the Fifth Circuit requires that Plaintiffs “demonstrate—at some stage of the

proceeding—that the class is adequately defined and clearly ascertainable.” Seeligson v. Devon

Energy Production Co., L.P., F. App’x 225, 230 (5th Cir. 2018) (cleaned up). The Court finds

Plaintiffs have done so with respect to both the Employer Class and the Individual Class.

         C.       The Classes Have Commonality

         “In order to satisfy commonality under Wal–Mart, a proposed class must prove that the

claims of every class member ‘depend upon a common contention . . . that is capable of classwide

resolution.’”2 Stukenberg, 675 F.3d at 838 (quoting Wal-Mart, 131 S.Ct. at 2551). This occurs

where “the contention is ‘of such a nature . . . that determination of its truth or falsity will resolve

an issue that is central to the validity of each one of the claims in one stroke.’” Id. (quoting Wal-

Mart, 131 S.Ct. at 2551). Put plainly, “Rule 23(a)(2) requires that all of the class member[s’]

claims depend on a common issue of law or fact whose resolution ‘will resolve an issue that is

central to the validity of each one of the [class member’s] claims in one stroke.’” Id. at 840

(quoting Wal–Mart, 131 S.Ct. at 2551). And this Court’s “obligation to perform a ‘rigorous



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  See Stukenberg, 675 F.3d at 839 (noting “the Wal–Mart decision has heightened the standards for establishing
commonality under Rule 23(a)(2)”). While the Wal-Mart “opinion is most famous (or infamous, depending on your
point of view) for ratcheting up the requirement in Federal Rule 23(a)(2) that all members of a class have at least one
question of fact or law in common before the class can be certified,” some scholars find “the account of this part of
his opinion overstated” because “there was really very little difference between how Justice Scalia interpreted
‘commonality’ and how Justice Ginsburg did so in dissent.” Brian T. Fitzpatrick, Justice Scalia and Class Actions: A
Loving Critique, 92 NOTRE DAME L. REV. 1977, 1979 (2017) (footnotes omitted).


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analysis’” of the commonality prong may “entail some overlap with the merits of [Plaintiffs’]

underlying claim.” Id. (quoting Wal-Mart, 131 S.Ct. at 2551).

       The Court finds both of Plaintiffs’ proposed class definitions meet the Fifth Circuit’s post-

Wal-Mart interpretation of Rule 23(a)(2)—and tracing the analysis in Stukenberg helps elucidate

why. In Stukenberg, the Fifth Circuit reversed the district court’s finding of commonality, most

relevantly here, because “the district court’s analysis supporting its finding that the class claims

raised common questions of law did not comply with the requirements of Rule 23(a)(2) for several

reasons.” Id. at 842 (emphasis added).

       “First, the formulation of [the] common questions of law [was] too general to allow for

effective appellate review.” Id. The Stukenberg plaintiffs’ formulation of their allegedly common

questions of law was that “numerous ‘systemic deficiencies’” subjected all children in Texas’s

conservatorship “to various harms or to the risk of experiencing those harms.” Id. The plaintiffs

“further contend[ed] that these harms violate[d] the constitutional rights of every child in [Texas’s

conservatorship] in various ways.” Id.

       Here, there is nothing general or vague about the questions of law common to either of

Plaintiffs’ two proposed classes. Quite apart from the “numerous” actions or deficiencies

challenged in Stukenberg, Plaintiffs here challenge only one specific regulatory requirement—the

contraceptive mandate. And as to each proposed class, the common question of law arising from

that challenge is clear. For example, Plaintiff Braidwood raises the following question of law

common to all employers who would join the Employer Class: “Does the Contraceptive Mandate

violate [RFRA] by compelling objecting employers to choose among the following three options:

(1) Provide contraceptive coverage in their employees’ health insurance; (2) Fill out and submit a

form that leads directly to the provision of objectionable contraception by their insurer or third-



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party administrator; or (3) Pay a heavy financial penalty[?]” Br. Supp. Mot. Certification 3, ECF

No. 20-1. And Plaintiff Richard DeOtte raises the following question of law common to all

individuals who would join the Individual Class: “Does the Contraceptive Mandate violate

[RFRA] by forcing class members to choose between purchasing insurance that subsidizes other

people’s contraception, or foregoing health insurance entirely?” Id. at 8. For each class, the single

underlying legal question is plainly put and clearly common.

       Second, whereas the Stukenberg plaintiffs complained of “various harms,” “the risk of

experiencing those harms,” and the violation of constitutional rights “in various ways,”

Stukenberg, 675 F.3d at 842, Plaintiffs here speak with precision and uniformity, see, e.g., Am.

Compl. 11, ECF No. 19 (“All class members are consumers of health insurance who object on

religious grounds to the coverage of contraception, yet are forced to choose between participating

in an insurance policy or plan that subsidizes and provides for objectionable contraception in

violation of their religious beliefs, or foregoing health insurance entirely. The common legal

questions are whether this substantially burdens the religious freedom of the class members, and

whether this burden represents the least restrictive means of advancing a compelling governmental

interest.”). And rather than an “85–page complaint” asserting a “diverse array of claims,”

Stukenberg, 675 F.3d at 842, Plaintiffs have here filed a 16-page amended complaint asserting one

cause of action common to all members of each class, Am. Compl. 13, ECF No. 19.

       The court also reasoned in Stukenberg that “the district court must . . . ensure that

‘dissimilarities within the proposed class’ do not ‘have the potential to impede the generation of

common answers.’” Stukenberg, 675 F.3d at 843 (quoting Wal-Mart, 564 U.S. at 351). “The

district court failed to meet these requirements” in Stukenberg “by declining to analyze Texas’s




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argument that dissimilarities within the proposed class precluded commonality with specific

reference to the elements or defenses for establishing the class claims.” Id.

       Here, no dissimilarities in the proposed classes will impede the generation of common

answers or otherwise preclude commonality. The proposed classes, by definition, beckon only

those employers and individuals who presently have the same legal claim. And Defendants’

suggestion that commonality is lacking because some employers and individuals might object to

different contraceptives is unavailing. See, e.g., Defs.’ Resp. 8–9, ECF No. 30. Plaintiffs’

definitions encompass employers and individuals who object to “some or all contraceptive

services.” Mot. Certification 1, ECF No. 20. The contraceptive mandate compels coverage of all

FDA-approved contraceptives. See 77 Fed. Reg. 8,725, 8,725 (Feb. 15, 2012). As a result, every

member of each class will have the same bottom-line RFRA claim because each member of each

class objects—due to their sincerely held religious beliefs—to some or all of the activity the

contraceptive mandate compels.

       The Fifth Circuit has said Rule 23(a)(2) commonality is met where “all of the class

member[s’] claims depend on a common issue of law or fact whose resolution will resolve an issue

that is central to the validity of each one of the class member’s claims in one stroke.” Stukenberg,

675 F.3d at 838 (cleaned up). Here, it is not only true all members of each class raise claims that

“depend on a common issue of law” that “will resolve an issue that is central to the validity of each

one of the class member’s claims in one stroke.” More forcefully, the common issue of law raised

by all members of each class—i.e., whether their same RFRA rights are violated by the same

regulation—is “each one of the class member’s claims.” And for that reason, answering the one

question raised by each class will resolve the claims of all members of each class “in one stroke.”




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        More to the point, answering whether “the Contraceptive Mandate violate[s] the Religious

Freedom Restoration Act by compelling objecting employers to choose among the [identified]

three options,” Br. Supp. Mot. Certification 3, ECF No. 20-1, will immediately achieve “classwide

resolution” for the Employer Class. And answering whether “the Contraceptive Mandate violate[s]

the Religious Freedom Restoration Act by forcing [individuals] to choose between purchasing

insurance that subsidizes other people’s contraception, or foregoing health insurance entirely,” id.

at 8, will immediately achieve “classwide resolution” for the Individual Class.

        The Court therefore finds Plaintiffs have satisfied Rule 23(a)(2)’s requirement of

commonality.

        D.       The Classes Have Typicality

        “The commonality and typicality requirements of Rule 23(a) tend to merge.” Gen. Tel. Co.

of Sw. v. Falcon, 457 U.S. 147, 158 n.13 (1982). “Both serve as guideposts for determining whether

under the particular circumstances maintenance of a class action is economical and whether the

named plaintiff’s claim and the class claims are so interrelated that the interests of the class

members will be fairly and adequately protected in their absence.”3 Id.

        Like in Wal-Mart, “[t]he crux of this case is commonality” and typicality is essentially

redundant of that assessment. Wal-Mart, 564 U.S. at 349. To the extent Defendants raise a

typicality-specific argument, that arguments is as follows: “Here, the proposed class members do

not necessarily share the same sincerely-held religious belief. Rather, the Court would need to

make fact-specific, individualized determinations as to whether any particular proposed class




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  “Those requirements therefore also tend to merge with the adequacy-of-representation requirement, although the
latter requirement also raises concerns about the competency of class counsel and conflicts of interest.” Falcon, 457
U.S. at 158 n.13.

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member shares the same sincerely-held religious belief as Plaintiffs.” Defs.’ Resp. 12, ECF No.

30. The Court, however, has already addressed this line of argument.

           As described above, because the contraceptive mandate requires coverage of all FDA-

approved contraceptives, there is no legally significant difference, for example, between a class

member who opposes only two types of contraception and a class member who opposes all types

of contraception. Either way, the mandate requires both class members to do something to which

they are opposed due to their sincerely held religious beliefs. And the RFRA inquiry is therefore

the same for both class members: Does the contraceptive mandate violate a person’s religious

liberty by requiring them to do something to which they are opposed due to sincerely held religious

beliefs?

           The bottom-line question under commonality and typicality is whether the relief the named

plaintiffs seek from the Court will resolve all class members’ legal claims. The answer here is

“yes” because Plaintiffs seek a declaration “that the Contraceptive Mandate violates the rights of

the plaintiffs and their fellow class members under the Religious Freedom Restoration Act.” Am.

Compl. 14, ECF No. 19. That relief, by definition, would resolve all class members’ claims by

clarifying that the contraceptive mandate violates the RFRA rights of all class members, whether

they object to some or all contraceptives. Contrary to the Government’s argument, Plaintiffs’

claims therefore have the “same essential characteristics as those of the putative class,” Stirman,

280 F.3d at 562—namely, that the contraceptive mandate violates RFRA by requiring Plaintiffs

and class members to do something to which they are opposed due to sincerely held religious

beliefs.

           The Court therefore finds Plaintiffs have satisfied Rule 23(a)(3)’s requirement of typicality.

IV.        CONCLUSION



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       Rule 23(a)’s “four requirements . . . effectively limit the class claims to those fairly

encompassed by the named plaintiff’s claims.” Wal-Mart, 564 U.S. at 349 (quoting General

Telephone Co. of Southwest v. Falcon, 457 U.S. 147, 156 (1982)) (quotation marks omitted). Here,

the classes are defined to include only those employers and individuals who sincerely hold a

minimum, common religious belief—an objection to subsidizing or facilitating coverage for at

least some contraceptives—that the contraceptive mandate—which mandates coverage for all

FDA-approved contraceptives—requires them to violate. This inherently limits the class claims to

the claims raised by Plaintiffs. And because of this, the declaration and injunction Plaintiffs seek

would provide relief to all class members, satisfying the demands of Rule 23(b)(2). See id. at 360

(“Rule 23(b)(2) applies only when a single injunction or declaratory judgment would provide relief

to each member of the class.”).

       Accordingly, Plaintiffs’ Motion for Class Certification, ECF No. 20, is GRANTED.

       SO ORDERED on this 30th day of March, 2019.



                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE




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